                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION

                        CRIMINAL CASE NO. 5:08cr48-RLV-CH


UNITED STATES OF AMERICA,       )
                                )
                                )
                vs.             )                       NOTICE
                                )
                                )
LON JONATHAN BROOKS, JR.,       )
________________________________)


      THIS MATTER IS BEFORE THE COURT on its own motion. On November 13,

2008, the Defendant appeared before the undersigned for his initial appearance in this

case. Based on all the information presented during the initial appearance, including the

Government’s recommendation, the undersigned released the Defendant on a $25,000

unsecured bond. The Court imposed all the usual and normal conditions that apply in this

district, as well as the special condition of home detention and electronic monitoring.

      On this date, the Court was provided a copy of the Pretrial Services Report prepared

by United States Probation Officer Cheryl Banks. Among other things, the Pretrial Services

Report reflects that the Defendant has a prior criminal record of which the undersigned was

unaware at the time of the initial appearance. The Probation Office recommends detention.

While the Court has made no ultimate decision, the undersigned does believe that the

detention issue in this case should be reopened consistent with the Bail Reform Act.

      18 U.S.C. § 3142(f)(2) provides in pertinent part as follows:

             the hearing may be reopened, before or after a determination
             by the judicial officer, at any time before trial if the judicial
             officer finds that information exists that was not known to the



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             movant at the time of the hearing and that has a material
             bearing on the issue whether there are conditions of release
             that will reasonably assure the appearance of such person as
             required and the safety of any other person and the
             community.

Consistent with this language, the Court hereby gives notice of its intention to reopen the

determination concerning the Defendant’s bond in light of the aforementioned information

concerning the Defendant’s record.

      IT IS THEREFORE ORDERED that consistent with 18 U.S.C. § 3142(f)(2), the Court

will reopen the issue of the Defendant’s release on bond. The Court has made no

determination of its ultimate action, and the undersigned will hear from counsel for all

parties at the hearing before rendering a decision.

      IT IS FURTHER ORDERED that the Clerk shall schedule this matter for a hearing

at the earliest possible time and provide appropriate notice thereof to counsel for the

Government and for the Defendant.



                                             Signed: November 17, 2008




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